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·8· ·vs.· · · · · · · · · · · · Case No. 4:23-cv-00278-RK   10· ·ERRATA SHEET· · · · · · · · · · · · · · · · · · · 85

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10· · · · · · · · Defendants.
                                                            13· ·Reporter's Note:· Electronic exhibits provided by
11                                                          · · ·counsel were made OCR searchable (PDF), downsampled
12                                                          14· ·to 600 dpi, digitally labeled if not previously
                                                            · · ·labeled, flattened, archived as original exhibits,
13
                                                            15· ·and provided electronically to all ordering counsel.
14
                                                            · · ·Processing electronic exhibits can change the file
15                                                          16· ·size, resolution, and metadata of files originally
16· · · · · · · · · · · · ·VOLUME 1                         · · ·provided.
                                                            17
17· ·VIDEO-RECORDED VIDEOCONFERENCE DEPOSITION OF
                                                            · · ·(ph) indicates a phonetic spelling.
18· ·LORIANNE MORROW, a witness, taken on behalf of the
                                                            18
19· ·Plaintiff, pursuant to Notice, on May 31, 2024,        · · ·[sic] indicates the text is as stated.

20· ·before                                                 19
                                                            · · ·Quoted text is as stated by the speaker.
21
                                                            20
22· · · · · · · · · SUSAN J. MUCKENTHALER                   21
23                                                          22
                                                            23
24· ·Certified Verbatim Reporter, Certified in Missouri
                                                            24
25· ·and Kansas.
                                                            25



·1· · · · · · · · · · · ·APPEARANCES
·2· ·For Plaintiff:
·3· · · MR. WALLACE G. HILKE
· · · · LOEVY & LOEVY
·4· · · 311 North Aberdeen Street, 3rd Floor
· · · · Chicago, Illinois· 60607
·5· · · hilke@loevy.com
· · · · (312) 243-5900
·6
·7· ·For Defendant Amy McGowan:
·8· · · MR. JOSHUA N. HANER
· · · · ASSISTANT COUNTY COUNSELOR
·9· · · 415 East 12th Street, Suite 200
· · · · Kansas City, Missouri· 64106
10· · · jhaner@jacksongov.org
· · · · (816) 881-3975
11
12· ·For all other Defendants:
13· · · MS. DIANE F. PETERS
· · · · WYRSCH HOBBS & MIRAKIAN, PC
14· · · 1200 Main Street, Suite 2110
· · · · Kansas City, Missouri· 64105
15· · · dpeters@whmlaw.net
· · · · (816) 221-0080
16
17
18· · · · · · · · · · · ·STIPULATIONS
19· · · · · ·It was stipulated and agreed by and between
20· ·counsel that the deposition officer can administer a
21· ·binding oath to the witness by videoconference.
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23
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                                 ·1· · · · · · · · ·CERTIFICATE OF REPORTER

                                 ·2

                                 ·3· · · · · ·I, Susan J. Muckenthaler, a Certified Court

                                 ·4· ·Reporter of the State of Missouri, do hereby

                                 ·5· ·certify:

                                 ·6· · · · · ·That prior to being examined, the witness

                                 ·7· ·was first duly sworn;

                                 ·8· · · · · ·That said testimony was reported by me at

                                 ·9· ·the time and place hereinbefore stated and was

                                 10· ·thereafter reduced to typewriting under my

                                 11· ·direction;

                                 12· · · · · ·That the foregoing transcript is a true

                                 13· ·record of the testimony given by said witness;

                                 14· · · · · ·That I am not a relative or employee or

                                 15· ·attorney or counsel of any of the parties or a

                                 16· ·relative or employee of such attorney or counsel or

                                 17· ·financially interested in the action.

                                 18· · · · · ·Witness my hand and seal June 17, 2024.

                                 19

                                 20

                                 21

                                 22· · · · · · · · · · · · ·Susan J. Muckenthaler

                                 23· · · · · · · · · · · · ·Missouri Supreme Court

                                 24· · · · · · · · · · · · ·Certified Court Reporter

                                 25




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·1· · · · · · · · · · · ·ERRATA SHEET

·2· ·RE:· Keith Carnes v. Robert Blehm, et al.

·3· ·PG/LN· · · ·Correction and Reason for Change

·4· ·_____ ______________________________________________

·5· ·_____ ______________________________________________

·6· ·_____ ______________________________________________

·7· ·_____ ______________________________________________

·8· ·_____ ______________________________________________

·9· ·_____ ______________________________________________

10· ·_____ ______________________________________________

11· ·_____ ______________________________________________

12· ·_____ ______________________________________________

13· ·_____ ______________________________________________

14· ·_____ ______________________________________________

15· ·_____ ______________________________________________

16· ·_____ ______________________________________________

17· ·_____ ______________________________________________

18· ·_____ ______________________________________________

19· ·_____ ______________________________________________

20· ·_____ ______________________________________________

21· ·_____ ______________________________________________

22

23· · · · · · · · · · · · _________________________

24· · · · · · · · · · · · Lorianne Morrow

25· ·SJM



·1· · · · · · · · · · · SIGNATURE PAGE

·2· ·RE:· Keith Carnes v. Robert Blehm, et al.

·3

·4· ·____ I certify that I have read my testimony and

·5· · · · request that NO changes be made.

·6

·7· ·____ I certify that I have read my testimony and

·8· · · · request that the above changes be made.

·9

10

11

12· · · · · · · · _________________________

13· · · · · · · · Lorianne Morrow

14

15

16· · · · · · · · Subscribed and sworn to before me this

17· ·____ day of ____________, 20____

18

19

20· · · · · · · · ______________________

21· · · · · · · · Notary Public

22· · · · · · · · State of _____________

23· · · · · · · · County of ____________

24· · · · · · · · My commission expires ____________

25· ·SJM




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